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                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF PUERTO RICO

    CONSEJO DE SALUD DE PUERTO
          RICO, INC., et al.,
             Plaintiffs,
                                                           CIVIL NO. 18-1045 (GAG)
                        v.

  UNITED STATES OF AMERICA, et al.,
            Defendants.


              MOTION TO WITHDRAW AS COUNSEL FOR CO-PLAINTIFF

TO THE HONORABLE COURT:

       COMES NOW the undersigned attorney, and respectfully STATES and PRAYS as

follows:

       1.       The undersigned attorney resigned from his position at the Federal Litigation

Division of the Puerto Rico Department of Justice. Consequently, he will no longer continue to

represent the Co-Plaintiff in the instant case.

       2.       Therefore, the undersigned attorney very respectfully requests the Honorable

Court to grant him leave to withdraw as an attorney of record on behalf of Co-Plaintiff in the

instant case and to strike him from the notice list.

       WHEREFORE, the undersigned attorney very respectfully requests the Court to grant

him leave to withdraw as an attorney of record on behalf of Co-Plaintiff in the instant case and to

strike him from the notice list.

       RESPECTFULLY SUBMITTED.

       In San Antonio, Texas on this 15th day of July, 2018.
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        IT IS HEREBY CERTIFIED that on this same date, I electronically filed the foregoing

with the Clerk of the Court using the CM/ECF system, which will send notification of such filing

to all parties.

                                                   WANDA VÁZQUEZ GARCED
                                                   Secretary of Justice

                                                   WANDYMAR BURGOS VARGAS
                                                   Deputy Secretary in Charge of Litigation

                                                   SUSANA PEÑAGARÍCANO-BROWN
                                                   Director of Federal Litigation Division

                                                   S/Jaime J. Zampierollo-Vilá
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